Case 1:16-cv-03038-VSB Document17 _ Filed 09/22/16 Page1of13

IN THE UNITED STATES DISTRICT COURT
FOR THE aa OF NEW YORK

SeowHt ER
nie @ [ryey “Te 1 RS 4 Amy ty Ao of
. [et for Employment
Discrimination

(Write the full name of each plaintiff who is filing Case No. |: 20/6-cv -032 39
this complaint. If the names of all the plaintiffs : ,

cannot fit in the space above, please write “see peaibeyillediniby the Clerks Omice)
attached” in the space and attach an additional
page with the full list of names.)

Jury Trial: Yes 0 No
(check one)

-against-

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LEGAL WEFAIRS DePT
N SS DEPRAIME MT oF NEATH
(Write the full name of each defendant who is being
sued. If the names of all the defendants cannot fit

in the space above, please write “see attached” in
the space and attach an additional page with the

full list of names.)
I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name Nevizcnm TT UrPRAL

Street Address | 270, Proeadiwaary } HEeoG

City and Aoex ie Y/ eee /~
County NoY wn /eojyy

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Code L£uEe~ The -GiF] | USDC oe

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Eemmall - | DOC #: a
—o Town Cedini2e G7 ae|, com |DATE FILED: 3 7 7,

B. The Defendant(s) -

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if

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Page 2 af ?
Case 1:16-cv-03038-VSB Document17 _ Filed 09/22/16 Page 2of13
known). Attach additional pages if needed.

Defendant No. 1

Name Fimo tw MAE

Job or Title Kian Ae y (if

known) /

Street Address Corn \ ms Jouses |S] As, Fl-2Q
City and _ I

County Alban Se NM = 12237

State and Zip /

Code Ay \yo —- | 2232 7

Telephone /

Number

E-mail

Address af
known)

Defendant No. 2

Name MzZw yer TRIE Dept. 4]

tA eat
Job or Title A (if

known)

Street Address |e Reeadunany , Rin sIO
. ~ 7

City and

County jt Libera 4

State and Zip
Code N. Woo jeteky
Telephone /

Number

E-mail

Address (if
known)

Cc. Place of Employment
The address at which I sought employment or was employed by the defendant(s)

is: NYsdert Q)

Name Med ard Wericors AMY
Street Address 7 Tease: gm Sr
City and /
County Spine Std Pla ao Yoal<
State and Zip cy vy
Code Ac|\s AMAA j ho. Yor L2Zz7eD b- {
q /
Telephone
Numer  _SIL-4 74 ~2p 1 I
. : Co Anak & _ ‘
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This action is brought for discrimination in employment pursuant to (check all that
apply):

we Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C.
§§ 2000e to 2000e-17 (race, color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VI, you
must first obtain a Notice of Right to Sue letter from the Equal
Employment Opportunity Commission.)

uw Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
§§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age
Discrimination in Employment Act, you must first file a charge with the
Equal Employment Opportunity Commission.)

“AG _ Americans with Disabilities Act of 1990, as codified, 42 U.S.C.
§§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans
with Disabilities Act, you must first obtain a Notice of Right to Sue letter
jrom the Equal Employment Opportunity Commission.)

wt Other federal law (specify the federal law):
Ly ASC. Ben 2 el } Cslex 4 laws j ley US: Crode S24 2

iw Relevant state law (specify, if known):

wt Relevant city or county law (specify. if known):

I. Statement of Claim COUNT EL

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiffs rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check
all that apply):
a Failure to hire me.
Termination of my employment.
Failure to promote me.
Failure to accommodate my disability.

Oo
Oo
vet Unequal terms and conditions of my employment.
aw Retaliation.

Oo

Other acts

(specify): NY Y DoH se Kaa. BrAr tu ZL eat fea
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(Note: Only those grounds raised in the charge filed with the Equal
Employment Opportunity Commission can be considered by the federal
district court under the federal employment discrimination statutes.)

B. It is my best recollection that the alleged discriminatory acts occurred on
date(s)

Cc. I believe that defendant(s) (check one):

Wa is/are still committing these acts against me.

O is/are not still committing these acts against me.
D. Defendant(s) discriminated against me based on my (check all that apply and
explain):
Yr race

color
Ww gender/sex

(a religion

w national origin

x age. My year of birth is_» 94 2 . (Give your year of
birth only if you are asserting a claim of age discrimination.)

o
XK disability or perceived disability (specify disability)

E. The facts of my case are as follows. Attach additional pages if needed.

Soe ofteastne) |

(Note: As additional support for the facts of your claim, you may attach to this
complaint a copy of your charge filed with the Equal Employment Opportunity
Commission, or the charge filed with the relevant state or city human rights

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Pro Se 15 (Rev. 09/16) Complaint for Violation of Civil Rights (Non-Prisoner)

UNITED STATES DISTRICT COURT

for the
So Lathes vDistrict of New 7 0a \<x

Case No. i, Zole7- Cc V-O308Y
(to be filled in by the Clerk’s Office)

NEELAM v& PAL
Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write "see attached" in the space and attach an additional
page with the full list of names.)

-Vy-

Jury Trial: (check one) Mi Yes [-] No

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M ¥ S POF
Defendant(s)

(Write the full name of each defendant who is being sued. Ifthe
names of all the defendants cannot fit in the space above, please
write "see attached" in the space and attach an additional page
with the full list of names. Do not include addresses here.)

Name Ne Ne ee ee ee ee ee ee ee ee” ee ee” ee”

COUNT Ti

a 4\rnendod COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number, A filing may include only: the last four digits of a social security number; the year of an individual's
birth; a minor's initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk's Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

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Pro Se 15 (Rev. 09/16) Complaint for Violation of Civil Rights (Non-Prisoner)

I. The Parties to This Complaint

A. The Plaintiffs)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name
Address

County
Telephone Number
E-Mail Address

B. The Defendant(s)

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Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

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bay : . {> >
b CR . ) Miuel Zip Code
[_] Individual capacity ["] Official capacity
City State | Zip Code

[_] Individual capacity [_] Official capacity

Page 2 of 6
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Pro Se 15 (Rev. 09/16) Complaint for Violation of Civil Rights (Non-Prisoner)

Defendant No. 3
Name
Job or Title (if known)
Address

City State Zip Code
County
Telephone Number
E-Mail Address (if known)

C] Individual capacity [_] Official capacity

Defendant No. 4
Name
Job or Title (if known)
Address

City State Zip Code
County
Telephone Number
E-Mail Address (i/known)

[_] Individual capacity [] Official capacity

IIL. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
[_] Federal officials (a Bivens claim)

A State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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C; Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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Pro Se 15 (Rev. 09/16) Complaint for Violation of Civil Rights (Non-Prisoner)

TIT.

D. Section 1983 allows defendants to be found liable only when they have acted "under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

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Statement of Claim dhs, “Hiro t te ap = b 7 fine gid .

Kia & ofl Ue Coe “fo 7
State as briefly as possible the facts ofy your gase. Describe how each defendantWas personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Where did the events giving rise to your claim(s) occur?

oY

B. What date and approximate time did the events giving rise to your claim(s) occur?
Gy fa 17
C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?

Was anyone else involved? Who else saw what happened?)

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Pro Se 15 (Rev. 09/16) Complaint for Violation of Civil Rights (Non-Prisoner)

IV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, You repuured and did or did not receive.
“

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V. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for

the acts alleged. Explain the basis for these claims. Sauc beane A jo Ce ASSP Leer
- Se

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Page 5 of 6
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division.)
IV. Exhaustion of Federa] Administrative Remedies
A. It is my best recollection that I filed a charge with the Equal Employment

Opportunity Commission or my Equal Employment Opportunity counselor
regarding the defendant’s alleged discriminatory conduct on (date)

B. The Equal Employment Opportunity Commission (check one):

O has not issued a Notice of Right to Sue letter.

wo issued a Notice of Right to Sue letter, which I received on (date)
el22bic

i .
(Note: Attach a copy of the Notice of Right to Sue letter from the
Equal Employment Opportunity Commission to this complaint.)

Cc. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment
Opportunity Commission regarding the defendant’s alleged discriminatory
conduct (check one):

eT 60 days or more have elapsed.
O less than 60 days have elapsed.

Vv. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to

order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages.

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VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-

related papers may be served. I understand that my failure to keep a current

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address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: oy Ley, 201.

Signature of Plaintiff Ns Crys 2
Printed Name of Plaintiff {|

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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
EEQC Form 161 (11/09) _

DISMISSAL AND NOTICE OF RIGHTS

From:

To: Neelam Uppal New York District Office
1370 Broadway 33 Whitehall Street
Apt 504 5th Floor
New York, NY 10018 New York, NY 10004
[] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR $1607 7(a))
EEOC Charge No EEOC Representative

Telephone No.
Thomas Perez,

§20-2016-02694 Investigator (212) 336-3778
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:

The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans Vth Disabilities Act

Your charge was not timely filed with EEOC: in other words, you waited too long after the date(s) of the alleged

[| The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
discrimination to file your charge

The EEQC issues the following determination: Based upon its investigation. the EEOC is unable to conclude that the

information ebtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other tssues that might be construed as having been raised by this charge.

[| The EEOC has adopted the findings of the staie or local fair employment practices agency that investigated this charge,

Other (hnefly state)

- NOTICE OF SUIT RIGHTS -

(See the additicnal information attached to this form )

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismis

| sal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN $0 DAYS of your receipt of thi

baa s notice; or your right to sue based on this charge will be
lost. (The time limit fer filing cuit based on a claim under state law may be different.)

Se et Sooten: we must be filed in federal or state court within 2 years (3 years for willful violations) of the
f 1 means that backpay due fora i io ES
Peteee you tile sat yay mot means that backpay r any violations that occurred more than 2 years (3 years)

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Feu |. Cem Lin Gad — 6
/ Kevin J. Berry, [
District Director

Enclosures(s)

(Date Mailed)
cc

Niray Shah
Attn: Commissioner
NYS DEPT OF HEALTH

Corning Tower - Empire State Plaza
25th Floor

Albany, NY 12237
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PRESS FIRMLY TO SEAL

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OUR FASTEST SERVICE IN THE U.S.

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A CUSTOMS DECLARATION
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